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OPERATING AGREEMENT
_OF
MILK RIVER HUNTING PRESERVE, LLC

THIS AGREEMENT is made and entered into this 8" day of October, 2003, by
and among Milk River Hunting Preserve, LLC, a Montana limited liability company (the
"Company"), Kirk A. Scoggins, Christopher Travis, John Kevin Moore, and the other
persons as are hereafter properly admitted as members of the Company (the "Members").

ARTICLE 1 - DEFINITIONS

1.1 Definitions. The words and phrases set forth below shall have the
following meanings as used in this Agreement:

(a) "Act" - The Montana Limited Liability Company Act, Title 35, Chapter 8
of the Montana Code Annotated, as amended from time to time, and any
reference to a specific provision of the Act shall be deemed to include any
future corresponding provision of the Act.

(6) = “Built-in Gains" - Allocations pursuant to §704(c) of the Code taken into
account in determining Tax Profits or Tax Losses, to the extent the
allocations are attributable to the excess of the agreed value over the tax
basis, both as shown on Exhibit A, of property contributed to the

Company.

(c) "Built-in Losses" - Allocations pursuant to §704(c) of the Code taken into
account in determining Tax Profits or Tax Losses, to the extent the
allocations are attributable to the excess of tax basis over agreed value,
both as shown on Exhibit A, of property contributed to the Company.

(d) "Capital Account" - The account maintained for each Member pursuant
to paragraph 6.1.

(e) "Code" - The Intemal Revenue Code of 1986, as amended from time to
time, and any reference to a specific provision of the Code shall be
deemed to include any future corresponding provision of the Code.

"Distributable Cash" for a period means the amount of all cash receipts
of the Company during the period (other than capital contributions,
proceeds of borrowing, dispositions of investments and similar items
ordinarily credited to principal under Montana fiduciary accounting
principles), less the sum of the following to the extent paid or set aside by
the Company: (1) all principal and interest payments on indebtedness of
the Company and all other sums paid to lenders; (2) all cash expenditures
incurred incident to the normal operation of the Company's business; and
(3) all reserves which a Majority in Interest deem reasonably necessary to
the proper operation of the Company's business.

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EXHIBIT

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(g) “Event of Dissociation" - The death, removal, bankrupicy, or dissolution
of any Member or occurrence of any event which terminates the continued
membership of a Member in the Company.

(h) "Majority in Interest" - A combination of any Members who, in the
aggregate, own more than 50% of the Units owned by all Members from
time to time (but not transferees of Members who have not been admitted

as Members).

(i) "Person" means an individual, a general partnership, a limited partnership,
a domestic or foreign limited liability company, a trust, an estate, an
association, 2 corporation, or any other legal entity.

Gj) "Regulations" - The Income Tax Regulations promulgated under the

- Code, as amended from time to time, and any reference to a specific

provision of the Regulations shall be deemed to include any future
corresponding provision of the Regulations.

(k) "Tax Losses and Tax Profits" - The net loss or income of the Company
as reported by the Members for federal income tax purposes as to each
taxable year or other period, calculated by (1) including all amounts
allocated to all Members under §§702(a)(1) through 702(a)(8) of the Code,
(2) increased by tax-exempt income, and (3) decreased by expenditures
described in §705(a)(2)(B) of the Code. ,

() "Transfer" - Any sale, assignment, gift, exchange, distribution from any
trust or estate, or any other transfer of Units whatsoever, whether
voluntary or involuntary, direct or indirect, including without limitation
the change of legal and beneficial title of any Units resulting from the
death of any Member, any distribution of Units from an estate or trust to
any beneficiary thereof, any change in beneficial interest of any trust in
which the trustee holds legal title to Units, any mortgage, pledge or
encumbrance of the Units, or any change of ownership of a corporation,
limited liability company or partnership which is a Member -

(m) "Unit" - An interest in the Company.

Certain other words and phrases are defined by the context in which they appear
in the Agreement for the first time and those words and phrases shall have the same
meaning where they subsequently appear in the Agreement.

ARTICLE 2 - FORMATION OF THE COMPANY
2.1 Formation. The Company was formed on October 8, 2003 upon the filing
of the Articles of Organization of the Company with the Montana Secretary of State. The

Members hereby admit each other and associate themselves together as Members of the
Company upon the terms and conditions set forth in this Agreement. In the event of a

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conflict between the terms and conditions of this Agreement and of the Act, the terms and
conditions of this Agreement shall control to the extent permitted under the Act.

2.2 Effective Date. This Agreement shall become effective when it has been
executed by all of the parties and, once effective, it shall relate back to the time of filing
of the Articles of Organization.

2.3 Purposes and Powers.

(a) The Company may engage in any lawful business for which limited
liability companies may be organized under the Act.

(b) The Company shall have any and ail powers which are necessary or
desirable to carry out the purposes and business of the Company, to the
extent that the powers may be legally exercised by limited liability
companies under the Act.

ARTICLE 3 - MANAGEMENT
3.1 Management of Company Affairs. The business and affairs of the

Company shall be managed by it Members. Except as otherwise provided in this
Agreement or by non-waivable provisions of the Act, each Member shall have full and
complete authority, power and discretion to manage and control the business, affairs and
property of the Company and to perform any and all other acts or activities customary or
incident to the management of the Company’s business. A Memiber’s signature shall be
sufficient to bind the Company, and no third party need inquire into the authority of the
Member to bind the Company. The Members agree not to take action to bind the
Company except in accordance with this Agreement.

3.2 Manner of Acting. Each Unit held by a Member is entitled to one vote on
each matter voted on by the Members. Except as otherwise provided in this Agreement,
all decisions and actions required to be made or taken by the Members shall be made or
taken upon the affirmative vote of a Majority in Interest. Any decisions or action
required to be made or taken by the Members may be made or taken without a meeting if
a consent in writing, setting forth the decision so made or action so taken is signed by

Members having the requisite votes.

3.4 Meetings. A meeting of the Members may be called at any time by any
Member upon five days' prior notice to the other Members or upon a waiver of notice by
all ofthe Members. Meetings of the Members shall be held at the principal office of the
Company or at any other location agreed to by all of the Members. Members may
participate in any meeting of the Members by means of a conference telephone or similar
communications equipment, provided all Members participating in the meeting can hear

one another.

3.5 Limitations on Authority. Without the affirmative vote of a Majority in
Interest, n0 Member shall:

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(a) __ sell or otherwise dispose of any Company property, real or personal, other
than in the ordinary course of business;

(b) ‘mortgage, pledge or grant a security interest in any Company property;

(c) incur or refinance any indebtedness for money borrowed by the Company,
whether secured or unsecured and including any indebtedness for money
borrowed from a Member, if the indebtedness to be incurred or refinanced
would exceed $10,000;

(4d) incur any liability on behalf of the Company or make any single
expenditure or series of related expenditures of Company funds in an
amount which would exceed $10,000;

(e) construct any capital improvements, repairs, alterations or changes to any
Company property if the amount required to be expended by the Company
in connection with the same would exceed $10,000;

(® lend Company funds to or cause the Company to guaranty or become
surety for the obligations of another individual or entity;

(g) hire, adjust the compensation of or discharge any employee of the
Company;

(bh) select and retain accountants, attorneys and other advisers, consultants or
independent contractors to provide services to the Company if the amount
required to be expended by the Company in connection with the same
would exceed $10,000; or

(i) compromise or settle any claim against or inuring to the benefit of the
Company involving an amount in controversy in excess of $10,000.

3.6 Books and Records. The Company shall keep or cause to be kept
complete and accurate books of account and records of the Company's affairs. The books
of account and records, together with a copy of this Agreement and any amendments
hereto, shall at all times be maintained at the principal office of the Company. Any
Member or any Member's authorized representative shall have the right at any time to
inspect and copy from the books, records and other documents regarding the Company or
its affairs during normal business hours upon reasonable notice to the Company.

3.7 Company Property and Bank Accounts. Legal title to all Company
property shail be held in the name of the Company. All receipts by the Company shall be
deposited to and all disbursements and expenditures by the Company shail be made from
bank accounts maintained by the Company in the Company's name. Withdrawals from
the Company's bank accounts for Company purposes shall only be made by those
individuals as may be approved from time to time by a Members.

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3.8 Tax Matters Partner. Pursuant to §6231(a) of the Code, Kirk A.
Scoggins is hereby designated as the "tax matters partner" for the Company and is hereby
authorized to perform, on behalf of the Company or any Member, any act that may be
necessary to make this designation effective.

3.9 Accounting Conventions. The Company shall keep its accounting
records and shall report its income for income tax purposes on a calendar year basis using
the method of accounting as a Majority in Interest shall decide.

3.10 Compensation, The salaries and other compensation of the employees of
the Company shall be fixed from time to time by a Majority in Interest, and no employee
shall be prevented from receiving a salary by reason of the fact that the employee is also a

Member.

3.11 Members Have No Exclusive Duty to Company. The Members shall
not be required to manage the Company as their sole and exclusive function and they may
have other business interests and may engage in other activities in addition to those
relating to the Company. Neither the Company nor any Member shall have any right, by
virtue of this Agreement, to share or participate in other investments or activities of the
Members or to the income or proceeds derived therefrom.

3.12 Liability of Members. The Members are not liable under a judgment,
decree or order of a court, or in any manner, for a debt, obligation or liability of the

Company.
ARTICLE 4 - CAPITAL CONTRIBUTIONS AND ADMISSION OF MEMBERS

41 Capital. The capital of the Company shall consist of Units.

4.2 Initial Capital Contributions. Upon execution of this Agreement, each
Member agrees as the initial capital contribution of such Member to contribute cash in the
amount specified in Exhibit A. The initial Members shall receive Units as shown on
Exhibit A in exchange for their initial capital contributions.

4.3 Additional Capital Contributions. No Member shall be required to
make any capital contribution in addition to that Member's initial capital contribution. If
a Majority in Interest decide that additional capital is required, each Member shall have
the right, but not the obligation, to contribute the same proportion of the additional capital
as the Member's Units bears to the total number of Units owned by all Members who
exercise the right to contribute. The Company shall issue an appropriate number of Units
in exchange for the additional capital contributions made by the Members.

4,4 Admission of Members.

(a) Substituted Members. A transferee of Units (that is exempt from
compliance with or that has acquixed the Units in compliance with the
Members’ Agreement dated, , 2003, which is described

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below in Article 7) may be admitted as a Member only after signing an
acceptance, in a form satisfactory to a Majority in Interest, of all the terms
and conditions of this Agreement

(b) New Members. A person may be admitted as a Member only after
obtaining the approval of a Majority in Interest, making the required
capital contribution in exchange for an appropriate number of Units and
signing an acceptance, in a form satisfactory to a Majority in Interest, of all
the terms and conditions of this Agreement.

ARTICLE 5 - CAPITAL ACCOUNTS AND ALLOCATIONS

5.1 Capital Accounts. The Company shall maintain a capital account for
each Member according to the Regulations under §704 of the Code ("Capital Account").
A Member's Capital Account initially shall be the agreed value of initial capital
contributed by the Member as shown on Exhibit A.

Each Member's Capital Account shall be increased by the following:
(a) the amount of the Member's additional cash contributions (if any);

(b) the agreed value of the Member's additional contributions of property (if
any); and

(ec) the Member's share of Tax Profits excluding Built-in Gains and Built-in
Losses.

Each Member's Capital Account shall be decreased by the following:
(a) the amount of cash withdrawals and distzibutions received by the Member;
.(b) the agreed value of property distributions received by the Member; and

(ec) the Member's share of Tax Losses excluding Built-in Gains and Built-in
Losses,

If Units are Transferred, the portion of the transferor's Capital Account
attributable to the transferred Units shall be added to the transferee's Capital Account
(and subtracted from the. transferor's Capital Account), together with any increase
appropriate pursuant to an election under §754 of the Code. If there is a redemption or
additional capital contribution, the Members may decide to revalue the Company's
property according to the principles of §1.704-1(b)(2)(iv)() of the Regulations and
maintain the Capital Accounts consistent with that revaluation.

5.2 Allocations of Tax Profits and Tax Losses.

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(a) Built-in Gains and Built-in Losses. Built-in Gains and Built-in Losses
shall be allocated to the contributing Members according to the principles
of §704(c) of the Code and the Regulations thereunder. If a contributing
Member has made a transfer of some part or all of the contributing
Member's Units, a ratable portion of the Built-in Gains or Built-in Losses
otherwise allocable to the contributing Member shall instead be allocated
to the current owner of the Units.

(b) Remaining Tax Profits and Tax Losses. The Tax Profits and Tax Losses
remaining after the allocations, if any, required by paragraph 5.2(a), shall
be allocated to the Members ratably in accordance with their relative
ownership of Units.

(c) Authority to Vary Allocations. A Majority in Interest may decide to vary
these allocations to the extent necessary to comply with federal income tax

laws.

ARTICLE 6 - DISTRIBUTIONS

6.1 Distribution of Distributable Cash. The Company shall distribute the
Distributable Cash of the Company to the Members within 90 days after the end of each
calendar year or more often as a Majority in Interest decide.

6.2 Distribution for Taxes. If a Majority in Interest determine that
distributions under paragraph 6.1 are insufficient to enable the Members to pay federal
and state income taxes attributable to the Company in quarterly installments, then the
Company shail make additional distributions as a Majority in Interest decide for that

purpose.

6.3 Other Distributions. The Company may make other distributions with
the approval of a Majority in Interest.

64 Distributions Among Members. Any disizibution shall be made to the
Members ratably in accordance with their relative ownership of Units.

ARTICLE 7 — TRANSFERS, PLEDGES AND WITHDRAWALS

7.1 Restriction on Transfers. Units may not be Transferred to any person
unless the Transfer is in compliance with the terms of the Members’ Agreement dated
; 2003, a copy of which is on file and may be reviewed at the Company’s

offices.

7.2 Restrictions on Encumbrances. Units may not be encumbered or
pledged as collateral unless the encumbrance is in compliance with the terms of the
Members’ Agreement dated , 2003, a copy of which is on file and
may be reviewed at the Company’s offices.

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7.3 Withdrawals. No Member shail have the right to withdraw from the
company by voluntary act.

ARTICLE 8 - DISSOLUTION AND LIQUIDATION

8.1 Dissociation of a Member. The business of the Company shall be
continued after the occurrence of an Event of Dissociation if there is one or more
remaining Members. The continuation of the business of the Company after the
occurrence of an Event of Dissociation under this paragraph 8.1 shall not require any
affirmative action on the part of the remaining Member or Members.

8.2 Dissolution. The Company shall be dissolved upon the first to occur of
the following:

(a2) Expiration of the period fixed for the duration of the Company in the
Articles of Organization; or

(b) Upon the written consent of Members owning more than 80% of the Units
owned by all Members.

8.3 Dissolution Procedures.

(a) On dissolution of the Company, a liquidator selected by the transferees
owning more than 50% of the outstanding Units shall immediately
commence to wind up the Company's affairs. The Members shall continue
to share Tax Losses and Tax Profits during the period of liquidation in
accordance with Article 5.

(b) = Following the payment of or provision for all debts and liabilities of the
Company and all expenses of liquidation, and subject to the right of the
liquidator to set up cash reserves as he, she or it decides shall be
reasonably necessary for any contingent or unforeseen liabilities or
obligations of the Company, the proceeds of the liquidation and any other
funds (or other remaining assets) of the Company shall be distributed, in
cash or in kind or partly in each, to the Members as provided in Article 6.

(c) Each Member shall look solely to the assets of the Company for all
distributions with respect to the Company and the Member's capital
contribution thereto and share of Tax Losses and Tax Profits thereof, and
shali have no recourse therefor (upon dissolution or otherwise) against any

other Member.

(dq) Upon the completion of the liquidation of the Company and the
distribution of all Company funds and other assets, the Company shall
terminate and any Member shall have the authority to obtain Articles of
Dissolution of the Company as well as any and all other documents
required to effectuate the dissolution and termination of the Company.

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8.4 Right to Distribution In Kind. No Member shall have any right to
demand or receive any particular property upon dissolution and termination of the
Company or to demand the retum of the Member's capital contribution to the Company.
The property to be received by any Member upon liquidation of the Company shall be
decided by the Company, except that no Member shall be required to accept a distribution
in kind in excess of the Member's fractional interest in the Company (Units owned by the
Member divided by total Units then outstanding) without the Member's consent.

ARTICLE 9 - EXCULPATION AND INDEMNIFICATION

9.1 Exeulpation. No Member shall be liable to any other Member for "Good
Faith Errors" (meaning mistakes of judgment or for losses due to the mistakes or to the
negligence or bad faith of any employee, broker, adviser or other agent or representative
of the Company, provided that the agent or representative was selected with reasonable
care). Members may consult with legal counsel (subject to paragraph 3.6(h)) and shall
have no liability for the consequences of any act or omission resulting from good faith
reliance on the advice of the legal counsel. The exculpation provided in this paragraph
9.1 also shall apply to the agents, employees and other legal representatives of each

Member.

9.2 Indemnification. The Company shall indemnify and hold harmless each
Member from and against any loss or expense incurred by reason of the fact that the
Member is or was a Member of the Company, including without limitation any judgment,
settlement, reasonable attorneys' fees and other costs or expenses incurred in connection
with the defense of any actual or threatened action or proceeding, provided the loss or
expense resulted from Good Faith Errors or from action or inaction taken in good faith
for a purpose which the Member reasonably believed to be in, or not opposed to, the best

interests of the Company.

ARTICLE 10 - MISCELLANEOUS

10.1. Arbitration. Any controversy arising out of or relating to this Agreement
shall be settled by binding arbitration pursuant to the Montana Uniform Arbitration Act
or other applicable Montana law, and where not inconsistent, in accordance with the
Commercial Arbitration Rules of the American Arbitration Association now or hereafter
in effect. If the Members are unable to unanimously agree upon the appointment of an
atbitrator within 10 days of meeting to appoint an arbitrator, the arbitrator shali be
appointed by the American Arbitration Association. The Members shall confer with the
arbitrator and together shall decide upon a time and place for an arbitration hearing. The
arbitrator's fees and costs shall be paid by the Company, unless the arbitrator determines
that any Member has asserted an unreasonable position during the arbitration, in which
event the arbitrator's fees and costs shall be paid by the Member who asserted an

unreasonable position.

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10.2 Related Party Transactions. The Company may obtain products or
services from entities controlling, controlled by or under common control with any
Member and pay the entities reasonable fees for the products and services.

10.3 Notices, Ali notices, offers and acceptances and other communications
under this Agreement shall be in writing and shall be delivered in person, by facsimile
transmission with confirmation, by overnight delivery service with receipt, or shall be
deposited in the United States Mail, postage prepaid, by certified or registered mail,
retum receipt requested, to the Company or a Member, as the case may be, at the address
set forth in Exhibit A, except that the Company or any Member may change the address
by giving the other parties notice of the change of address. A notice shall be deemed
received: (a) if by personal delivery, on the date delivered, (b) if by facsimile
transmission, on the date confirmed, (c) if by overnight delivery service, on the date
delivered and (d) if by mail, five business days after mailing.

10.4 Attorneys' Fees. Subject to paragraph 10.1, in the event of a default by
the Company or a Member under this Agreement, the non-defaulting parties under this
Agreement shall be entitled to recover from the defaulting party all costs and expenses
incurred by the non-defaulting parties by reason of the default, including, without
limitation, reasonable attorneys' fees and costs and court costs, whether those amounts are

incurred with or without legal action.

10.5 Benefits of Agreement. Nothing in this Agreement expressed or implied,
is intended or shall be construed to give to any creditor of the Company or any creditor of
any Member or any other person or entity whatsoever, other than the Members and the
Company, any legal or equitable right, remedy or claim under or in respect of this
Agreement or any covenant, condition or provisions herein contained, and the provisions
of this Agreement are and shall be held to be for the sole and exclusive benefit of the

Members and the Company.

10.6 Integrated Agreement. This Agreement constitutes the entire agreement
of the parties. It supersedes any prior agreements, negotiations or understandings among

them, and it may be amended only as provided in Article 11.

10.7 Severability. If any provision of this Agreement or the application thereof
to any person or circumstance shall be invalid or unenforceable to any extent, the
remainder of this Agreement and the application of its provisions to other persons or
circumstances shall not be affected thereby, and the intent of this Agreement shall be
enforced to the greatest extent permitted by law.

10.8 Further Assurances. After execution of this Agreement, the Company
and the Members shall execute, acknowledge and deliver any further documents and do
any further acts as may be required to carry out the intent and purposes of this Agreement,
including any documents and actions as may be necessary or advisable to comply with the
requirements of law for the formation and operation of limited liability companies

wherever the Company carries on its business.
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10.9 Binding Agreement. This Agreement shall bind the executors,
administrators, estates, heirs, assigns and successors of the parties hereto.

10.10 Governing Law. Montana law shall govern this Agreement and all
questions arising hereunder.

10.11 Headings. The headings of the particular paragraphs or subparagrapbs of
this Agreement are intended for guidance only, and shali not be relied upon in the
consiruction or interpretation of this Agreement, nor shail they restrict the scope of the
particular paragraphs or subparagraphs to which they refer.

10.12 Counterparts. This Agreement may be executed in any number of
counterparts, each of which when executed and delivered shall be an original, but all the
counterparts shall constitute one and the same instrament. As used herein, “counterparts"
shall include full copies of this Agreement signed and delivered by facsimile
transmission, as well as photocopies of the facsimile transmissions.

ARTICLE 11 - AMENDMENTS

This Agreement shall not be amended to change any Member's share of
distributions without the consent of the Member. Subject to the preceding sentence, this
Agreement may be amended upon the affirmative vote of a Majority in Interest; provided,
however, that any provision in this Agreement setting forth a decision or action requiring
the affirmative vote of Members owning a greater percentage of Units shall not be
amended without the approval of Members owning sufficient Units for the making of the
decision or the taking of the action. From time to time, the Members shall cause Exhibit
A to be amended to reflect admissions and withdrawals of Members, Transfers of Units,
capital contributions (including the tax basis and agreed value), redemptions of Units and
changes in the addresses of the parties.

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IN WITNESS WHEREOF, this Operating Agreement has been executed the day
and year first above written.

MILK RIVER HUNTING PRESERVE, LLC

Kjfk A. Scoggins, Member

Chip Davey DPX

Christopher Travis, are

_f hha. Kawi

Kevin Moore, “cere

any"

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Kitk A. Scoggins, d)
C bi Z. Lowy LIS

Chri ZL, OT
hf

hn Kevin ‘Moore, Member

"Members"

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EXHIBIT A
Initial Capitalization
Members Tax Basis Agreed Value Units Issued
Kirk A. Scoggins $333.33 $333.33 331/3
Christopher Travis $333.33 $333.33 331/3
John Kevin Moore $333.33 $333.33 331/3
TOTAL $999.99 $999.99 100

For purposes of paragraph 10.3, the address of the Company is as follows:
MILK RIVER HUNTING PRESERVE, LLC

105 Baker Avenue
Whitefish, MT 59937

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